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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Western Division

Patrick Pursley
                                 Plaintiff,
v.                                                   Case No.: 3:18−cv−50040
                                                     Honorable Philip G. Reinhard
City of Rockford, et al.
                                 Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 17, 2019:


        MINUTE entry before the Honorable Lisa A. Jensen: The minute entry [138] is
corrected as follows. A status hearing is set for 1/16/2020 at 9:00 AM. Mailed notice (jk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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